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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                 Criminal No. 06-cr-018-01-PB

Travis Blodgett


                                 O R D E R

     Defendant moves for a copy of the indictment against him and

for unredacted discovery.

     I do not know what Mr. Foley is thinking in claiming that

his client never received copies of an indictment in light of the

following:

           1.   I have listened to the tape of the January 30,

     2006 arraignment.       I ordered the Clerk to provide Travis

     Blodgett with the indictment in court.           He read it and he

     and Mr. Foley acknowledged on the record that he understood

     it.   He was then provided a copy.

           2.   A waiver of defendant’s appearance on the

     superceding indictment, signed by Travis Blodgett and Mr.

     Foley acknowledges receipt of the indictment.

           3.   Mr. Foley is registered as a CM/ECF user and can

     copy the indictment by clicking onto it and hitting print.
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The motion (document no. 30) is frivolous and untrue with regard

to this claim.

     Defense counsel claims to have had problems “opening” the CD

containing the discovery but never picked up the phone to call to

seek help from Attorney Feith.      Apparently, defense counsel got

access.

     Defense counsel now complains about redactions in general

but not a single one in particular.        Again he made no effort to

“meet and confer” prior to filing his motion.          The government

maintains that the redactions are limited to information which

“could reasonably be expected to constitute an unwarranted

invasion of personal privacy” 5 U.S.C. § 552(B)(7)(c)(2006).              As

such they are required to be redacted.        Other redactions were

made under 5 U.S.C. § 552(b)(7)(a).        Unless and until counsel can

point to redaction of information necessary to defense of the

case he is entitled to no more than what he got.

     The motion (document no. 30) is denied.

     SO ORDERED.

                             ____________________________________
                             James R. Muirhead
                             United States Magistrate Judge

Date: June 6, 2006


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cc:   Richard N. Foley, Esq.
      William E. Christie, Esq.
      Donald A. Feith, Esq.
      U.S. Probation
      U.S. Marshal




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